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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                                 CASE NO.: 17-20608-CIV-JAL/JG

  ARWIN NICOLAS ZAPATA CARRERO and )
  all others similarly situated under 29 U.S.C. )
  216(b),                                       )
                                                )
                    Plaintiffs,                 )
                                                )
          vs.
                                                )
                                                )
  SANABI INVESTMENTS LLC d/b/a                  )
  OSCAR’S MOVING & STORAGE,                     )
  SAADY BIJANI a/k/a SANDY BIJANI,              )
  HANIN PRIETO,                                 )
                                                )
                   Defendants.                  )
  _____________________________________ )


      PLAINTIFF’S STATEMENT OF MATERIAL FACTS IN SUPPORT OF PLAINTIFF’S
                    MOTION FOR PARTIAL SUMMARY JUDGMENT 1

       COMES NOW the Plaintiff, by and through the undersigned, and hereby submits the

  following facts in support of her Motion for Partial Summary Judgment:

       1. Plaintiff worked for the Defendants as a mover from on or about June 2006 2 through on

          or about February 10, 2017. Pl. Aff. ¶4.

       2. When any piece of furniture was damaged and/or allegedly damaged, said damages

          and/or alleged damages were deducted from Plaintiff’s wages. Pl. Aff. ¶5.




  1
   This matter has been stayed as to Defendants, SANABI INVESTMENTS LLC d/b/a OSCAR’S
  MOVING & STORAGE, and SAADY BIJANI a/k/a SANDY BIJANI, pursuant to 11 U.S.C.
  Sec. 362. See, Suggestion of Bankruptcy [DE110], [DE121]; See also, [DE114], [DE127].
  2
    In the previously filed Affidavit [DE24-1] there was a scrivener’s error with regards to the year
  I started working for Defendants which is corrected here.
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     3. As Plaintiff worked in a moving crew, more often than not the damages and/or alleged

        damages were not as a result of Plaintiff’s actions and regardless of same it negatively

        affected the total wages Plaintiff received. Pl. Aff. ¶5.

     4. During the relevant time period, Plaintiff witnessed the individual Defendant, Saady

        Bijani a/k/a Sandy Bijani, sign blank checks and then provide them to the individual

        Defendant, Hanin Prieto. Pl. Aff. ¶6. The individual Defendant Hanin Prieto would then

        fill in the necessary information related to wages and hand out the checks to the various

        other employees; this was regularly the process in order to receive Plaintiff and his co-

        workers’ wages. Pl. Aff. ¶6.

     5. If something was damaged on a job, Hanin Prieto would regularly determine the amount

        of money to be deducted from the employee’s wages, if any. Pl. Aff. ¶7.

     6. On a daily basis, the individual Defendant, Hanin Prieto, would assign Plaintiff and the

        other employees (i.e. other movers) to the assigned truck(s) and which employees would

        be assigned to which specific jobs. Pl. Aff. ¶8.

     7. The individual Defendant, Hanin Prieto, would regularly call Plaintiff to see how Plaintiff

        was doing with client(s) and then Plaintiff would overhear the client(s) on the phone with

        the individual Defendant, Hanin Prieto, following up after talking on the phone with

        Plaintiff. Pl. Aff. ¶9.

     8. If a new employee started, the individual Defendant Hanin Prieto would call Plaintiff and

        ask Plaintiff how the new employee was doing and to provide him with a status update.

        Pl. Aff. ¶10.

     9. The individual Defendant Hanin Prieto had the authority to fire employees. Pl. Aff. ¶11.




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     10. Plaintiff recalls on once or twice witnessing the individual Defendant Hanin Prieto telling

        Plaintiff’s co-worker that it was not working out and that he was terminated. Pl. Aff.

        ¶11.

     11. Defendant Hanin Prieto would supervise employees. See, Depo. Trans. Polanco P.14,

        L.15-P.16, L.18.

     12. During the relevant time period, on a weekly basis, the individual Defendants, Saady

        Bijani a/k/a Sandy Bijani and Hanin Prieto, would conduct meetings with all the

        employees and in these meetings the individual Defendant, Hanin Prieto, would ask about

        specific employees and discipline any employees that did not have good quality work that

        week. Pl. Aff. ¶12.

     13. During the relevant time period, the individual Defendant, Hanin Prieto, would also make

        employees’ schedules and assign Plaintiff and his co-workers to their respective groups.

        Pl. Aff. ¶13.

                                                      Respectfully submitted,

                                                      J. H. ZIDELL, P.A.
                                                      ATTORNEYS FOR PLAINTIFF
                                                      300-71ST STREET, SUITE 605
                                                      MIAMI BEACH, FLORIDA 33141
                                                      305-865-6766
                                                      305-865-7167

                                                      By:_s/ Rivkah F. Jaff, Esq. ___
                                                         Rivkah F. Jaff, Esquire
                                                         Florida Bar No.: 107511

                                 CERTIFICATE OF SERVICE

               I HEREBY CERTIFY THAT A TRUE AND CORRECT
      COPY OF THE FOREGOING WAS PROVIDED VIA CM/ECF ON 1/11/19 TO:

                                         HANIN PRIETO
                                            PRO SE

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                           11431 NW 107 ST., SUITE #13
                                 MIAMI, FL 33178

                     BY:______/s/ Rivkah F. Jaff______________
                             RIVKAH F. JAFF, ESQ.




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